       Case
        Case:
            3:16-cv-00751-WHO
               17-80080, 12/21/2018,
                                 Document
                                     ID: 11131710,
                                            112 Filed
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                    UNITED STATES COURT OF APPEALS                       FILED
                           FOR THE NINTH CIRCUIT                         DEC 21 2018
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
COLIN R. BRICKMAN, individually and             No.   17-80080
on behalf of a class of similarly situated
individuals,                                    D.C. No. 3:16-cv-00751-TEH
                                                Northern District of California,
                Plaintiff-Respondent,           San Francisco

UNITED STATES OF AMERICA,                       ORDER

                Intervenor-Respondent,

 v.

FACEBOOK, INC.,

                Defendant-Petitioner.


CHRISTINE HOLT, individually and on             No.   17-80086
behalf of all others similarly situated,
                                                D.C. No. 3:16-cv-02266-JST
                Plaintiff-Respondent,

UNITED STATES OF AMERICA,

                Intervenor-Respondent,

 v.

FACEBOOK, INC., a Delaware corporation,

                Defendant-Petitioner.




AC/MOATT
       Case
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Before: LEAVY and HURWITZ, Circuit Judges.

      Resolution of these petitions for permission to appeal pursuant to 28 U.S.C.

§ 1292(b) was stayed pending a decision in Marks v. Crunch of San Diego, No. 14-

56834. On September 20, 2018, this court issued a decision in Marks.

      We have received petitioner’s filings renewing the requests for permission to

appeal or, alternatively, seeking to stay resolution of these petitions pending a

decision in Duguid v. Facebook, Inc., No. 17-15320. We grant the alternate

requests (Docket Entry No. 22 in appeal No. 17-80080; Docket Entry No. 24 in

appeal No. 17-80086) to stay resolution of these petitions for permission appeal

pending a decision in Duguid v. Facebook, Inc., No. 17-15320. Resolution of

these petitions is also stayed pending a decision in Gallion v. Charter

Communications, Inc., No. 18-55667. Within 14 days after this court has issued

decisions in both Duguid and Gallion, petitioner shall notify this court in writing

and shall file a request for appropriate relief.




AC/MOATT                                    2
